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                                                         IN THE CIRCUIT COURT OF THE
                                                         SECOND JUDICIAL CIRCUIT IN AND
                                                         FOR LEON COUNTY, FLORIDA

    JANET JOHNSON,                                       CASE NO. 12-CA       l ~ g'f
                                                         FLA BAR NO. 0739685
            Plaintiff,

    v.

    BOARD OF TRUSTEES, FLORIDA
    A&M UNIVERSITY, a pu bie body
    corporate,

           Defendant.
    ---------------------------I
                                               COMPLAINT

           Plaintiff,JANETJOHNSON, hereby sues Defendants, BOARD OF TRUSTEE S,FLORlDA

    A&M UNIVERSITY, a pubic body corporate, and alleges:

                                          NATURE OF THE ACTION

           1.- --, This is an action brought under Chapter 760, Florida Statutes;,-and-42l:LS.C. §2000e -­



           2.      This is an action involving claims which are, individually, in excess of Fifteen

    Thousand Dollars ($15,000.00), exclusive of costs and interest.

                                              THE PARTIES

           3.       At all times pertinent hereto, Plaintiff, JANET JOHNSON, has been a resident ofthe

    State of Florida and was employed by Defendant. Plaintiff is a member of a protected class due to

    her gender and due to the fact that he objected to or reported unlawful activity and was the victim

    of unlawful retaliation thereafter.
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        4.      At all times pertinent hereto, Defendants, BOARD OF TRUSTEES, FLORlDA A&M

UNIVERSITY, a pubic body corporate, has been doing business under the laws of the State of

Florida. At all times pertinent to this action, Defendant has been an "employer" as that term is used

under the applicable laws identified above.

        5.      Plaintiff has satisfied all conditions precedent to bringing this action in that Plaintiff

filed a charge of discrimination with the Florida Commission on Human Relations and with the

EEOC. This action is timely filed thereafter.

                          STATEMENT OF THE ULTIMATE FACTS

        6.    Plaintiff was initially employed by Defendant as University Registrar on or about July

7, 2008. Plaintiff was almost immediately harassed by a subordinate male employee, Senior

Registration Officer Steyennan Rickey Jackson.

        7.      By way of example only, Jackson regularly entered Plaintiffs office to argue about

decisions Plaintiff made as the Registrar, and needlessly attacked Plaintiffs suggestions during

weekly staff meetings.

       8.      Thereafter, Plaintiffverbal1y reprimanded Jackson and reported his behavior to her

superiors, however the harassment and abuse worsened. Specifically, Jackson began to make

disparaging comments about Plaintiff to other supervisors and employees throughout campus in an

effort to damage Plaintiffs reputation. Plaintiff requested assistance and protection from upper

management and the Office ofEEOC at Florida A&M University ("F AMU"), but was not supported

whatsoever.

        9.      On or about January 4, 2010, Jackson was transferred to a different department,

however still conti nued to return to Plaintiff s department to harass her. Jackson regularly confronted


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Plaintiff in her parking lot, in her office, in her waiting room, as well as outside the women's

restroom.

       10.    During the relevant period hereto, Jackson repeatedly used vulgar language towards

Plaintiff with or without other individuals present. By way of example only, he referred to Plaintiff

as "bitch," "motherfucker," and "whore." On occasion, he also referred to Plaintiff as "H'oney,"

"Girl," and "Sweetheart." These terms would often be accompanied by suggestive winking or other

gestures.

        11.     During the relevant period hereto, he claimed that he would "run [Plaintiff] out of

town," as he "had connections and relatives in HR." Moreover, he told Plaintiff that she "would not ·

be successful" and that he would see that she "never [got] a good reference from F AMU for another

job." Additionally, Jackson told Plaintiff that he had spoken with President Ammons, and that the

President said "he would take care of that situation, even ifit means removing [PlaintiffJ."

       12.      Plaintiff complained about Jackson to supervisors, including, but not limited to,

Donald Palm, Vice President of Academic Affairs, with no response. On a later occasion, Palm

stated to Plaintiff that he, "did not care for a strong, detennined and forward woman, and the only

difference between [Plaintiff]. and my ex-wife was that I divorced [the ex-wife]."

       13.    During the relevant period hereto, Plaintiff told FAMU EEOC Director Carrie Gavin

that she wanted to file a complaint against Jackson. Plaintiffwas informed by Gavin that ifshe filed

a complaint, it would be perceived as an inability to perform as a supervisor.

       14.     During the relevant period hereto, Plaintiff consulted wi th her personai'physician

regarding stress, anxiety, and fright because of the constant abuse from Jackson and the lack of

support from F AMU. Plaintiff was prescribed medication in response to these health issues.


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        15.     As the hostile situation did not change, Plaintiff was constructively discharged on

or about January 2,2011. No reasonable person would have remained in Defendant's employment

due to these circumstances.

        16.    Plaintiff has retained the undersigned to represent her interests in this cause and is

obligated to pay a fee for these services. Defendant should be made to pay said fee under Chapter

760, Florida Statutes, and 42 U.S.c. §2000e et seq ..

                                             COUNT II

                                  GENDER DISCRIMINATION

        17.    Paragraphs 1 through 16 are reaIJeged and incorporated herein by reference.

        18.    This is an action against Defendant for discrimination based upon gender brought

under Chapter 760, Florida Statutes and 42 U.S.c. §2000e et seq ..

        19.    Plaintiffhas been the victim ofdiscrimination on the basis ofPlaintiff s gender in that

Plaintiff was treated differently than similarly situated employees of Defendant who are male and

has been subject to hostility and poor treatment on the basis, at least in part, of Plaintiffs gender.

       20.     Defendant is liable for the differential treatment and hostility towards Plaintiff

because it controlled the actions and inactions of the persons making decisions affecting Plaintiff or

it knew or should have known of these actions and inactions and failed to take prompt and adequate

remedial action or took no action at all to prevent the abuses to Plaintiff. Furthermore, Defendant

knowingly condoned and ratified the differential treatment of Plaintiff as more fully set forth above

because it allowed the differential treatment and participated in same. Defendant's known allowance

and ratification of these actions and inactions created, perpetuated and facilitated an abusive and

offensive work environment within the meaning of the statutes referenced above.


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          21.   In essence, the actions ofagents ofDefendant, which were each condoned and ratified

by Defendant, were of a gender-based nature and in violation of the laws set forth herein.

          22.   The discrimination complained of herein affected a term, condition, or privilege of

Plaintiffs continued employment with Defendant. The events set forth herein lead, at least in part,

to Plaintiff's termination on contrived allegations.

          23.   Defendant's conduct and omissions constitutes intentional discrimination and

unlawful employment practices based upon gender in violation ofChapter 760, Florida Statutes, and

42 U.S.C. §2000e et seq ..

          24.   As a direct and proximate result ofDefendantIS conduct described above, Plaintiffhas

suffered emotional distress, mental pain and suffering, past and future pecuniary losses,

inconvenience, bodily injury, mental anguish, loss of enjoyment of life and other non-pecuniary

losses, along with lost back and front pay, interest on pay, bonuses, and other benefits. These

damages have occurred in the past, are permanent and continuing.

                                             COUNT II

                                          RETALIATION

          25.   Paragraphs 1 through 16 are hereby realleged and reincorporated as if set forth in full

herein.

          26.   Defendant is an employer as that term is used under the applicable statutes referenced

above.

          27.   The foregoing allegations establish a cause of action for unlawful retaliation after

Plaintiff reported unlawful employment practices adversely affecting Plaintiff under 42 U.S.C

§2000e et seg., and Chapter 760, Florida Statutes.


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       28.     The foregoing unlawful actions by Defendant were purposeful.

       29.     Plaintiff voiced opposition to unlawful employment practices during Plaintiff's

employment with Defendant and was the victim of retaliation thereafter, as related in part above.

       30.     Plaintiff is a member of a protected class because Plaintiff reported unlawful

employment practices and was the victim ofretaliation thereafter. There is thus a causal connection

between the reporting of the unlawful employment practices and the adverse employment action

taken thereafter.

        31.    As a direct and proximate result of the foregoing unlawful acts and omissions,

Plaintiff has suffered mental anguish, emotional distress, expense, loss ofbenefits, embarrassment,

humiliation, damage to reputation, illness, lost wages, loss ofcapacity for the enjoyment oflife, and

other tangible and intangible damages. These damages are continuing and are permanent.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff demands judgment against Defendants for the following:

                (a)    An injunction restraining continuing violations ofthe other laws enumerated

                       herein;

                (b)    Reinstatement to the same position that Plaintiff held before the retaliatory

                       personnel actions or to an equivalent position;

                (c)    Reinstatement of full fringe benefits and seniority rights, to the extent such

                       were available to Plaintiff;

                (d)    Compensation for loss wages, benefits, and other remuneration;

                (e)    Damages as allowed by law;

                (f)    Attorney's fees, costs and cost ofthi5 action, and


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        (g)      Any other relief deemed just and proper under the circumstances.

                         DEMAND FOR TRIAL BY JURy

 Plaintiff hereby demands a trial by jury on all issues herein that are so triable.

 DATED this    {Lffday of June, 2012.
                                                 Respectfully submitted,




                                                 Marie A. Mattox; FBN 0739685
                                                 MARIE A. MATTOX, P. A.
                                                 310 East Bradford Road
                                                 Tallahassee, FL 32303
                                                 Telephone: (850) 383-4800
                                                 Facsimile: (850) 383-4801
                                                 ATTORNEYS FORPLAlNTWF




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  EEOC Perm 1131 (11m)                      U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                                    DISMISSAL AND NOTICE OF RIGHTS
 To:    Janet E. Johnson                                                                  From:    Miami District Office
        2781 Flynn Street                                                                          2 South Biscayne Blvd
        Deltona, FL 32738                                                                          Suite 2700
                                                                                                   Miami, FL 33131


       o                       On behalfof person(s) aggneved whose Identity is
                               CONFIDENTIAL {29 CFR §16D1.7(a)J
 EEOC Charge No.                                  EEOC RepresentaUve                                                           TelepllOl1.e No.
                                                  Ina Oepaz,
 15D-2011-00434                                   State & Local Coordinator                                                    (305) 808-1752
 THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
       D         The facts alleged in the charge fall to state a claim under any of the statutes enforced by the EEOC.

       o         Your allegations did not involve a disabl/lty as defined by the Americans With Disahllilles Act.

       o         The Respondent employs less than Ihe required number of employees or is not otherwise covered by the statutes.

       D         Your charge was not timely filed with EEOC; in other words, you waited 100 long after the date(s) of the alleged
                 discrimination to file your charge

       D         The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to condude that the
                 infoonalion obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
                 the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.
       [[]       The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

       o         Olherlbriefly stale}


                                                        . ~ NOTICE 'OF SUIT RiGHTS ­
                                                   -(See tlie addifio;wllnfDmiahcfh-alisclied co thIs fOrm".)' . - . - .­
Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act! This will be the only notice of'dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge In federal or stale court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred mare than 2 years {3 'tears}
before you file suit may not be collectible.     .



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Enclosures(s)                                                                                                                         (Dale Mailed)
                                                                 MALCOLM S; MEDLEY,
                                                                   District Director
CC!

           Florida A&M UnIversity
           C/O Mr. Jason E. Vail
           General Counsel
           law Offices Of Allen, Norton & Blue
           906 North.Monroe Street
           Suite 100       .
           Tallahassee, FL 32303
